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                      IN THE UNITED STATES DISTRCIT COURT

                          EASTERN DISTRICT OF ARKANSAS

                               WESTERN DIVISION


lRUDY COLLISON                                                                PLAINTIFF

v.                                   No. 4:10CV00233 JLH

BANK OF ARMERlCA;
CALVARY PORTFOLIO
SERVICES, LLP; AND
ENHANCED RECOVERY CORP.                                                       DEFENDANTS

                                             ORDER


       On September 28, 2010 this case was dismissed without prejudice. Since that order was
entered, the parties have reached a settlement.

       That settlement agreement has been executed by all the parties, therefore, pursuant to that
settlement agreement this case will be dismissed with prejudice.

       IT IS SO ORDERED this     N                         l_--" 2011.
                                       day of -1!p':'-(;...1i




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                                                                         United States District Judge
